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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    YESENIA DEL TORO,                 ) Case No. CV 21-1216-JAK (JPR)
                                        )
12                       Plaintiff,     )
                                        )          J U D G M E N T
13                  v.                  )
                                        )
14    360 PARTNERSHIP LP et al.,        )
                                        )
15                       Defendants.    )
                                        )
16
17          Pursuant to the Order Accepting Findings and Recommendations

18    of U.S. Magistrate Judge,

19          IT IS HEREBY ADJUDGED that judgment be entered in

20    Defendants’ favor and that this action be dismissed.

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22    DATED: 1RYHPEHU
                                         JOHN A. KRONSTADT
23                                       U.S. DISTRICT JUDGE

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